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IN THE UNITED STATES DISTRICT COMMON LAW COURT OF RECORD
       UNITED STATES DISTRICT COURT FOR THE WESTERN
          DISTRICT OF MICHIGAN SOURTHERN DIVISION
                      Case No: 1:20 -cv-00725

  Keith A. Goodwin;                              )


                                                 ) United States District Common Law Court of
                             Claimant/Plaintiff. ) Record Law of the Land:
                                                 )                  God Almighty, who is Presiding
                                                     Judge of All
  Judge Paul L. Maloney's;                       )

                                                 )

                        Respondent/Defendant.    )




       ORDER DENYING MOTION TO DISMISS AND THE REPLY IN
                       SUPPORT OF IT


 Respondents Judge Paul L. Maloney/District Attorney has "Replied" in "Support"

 of his "Motion to Dismiss". It is important that the courts understand, the motion to

 dismiss was filed in a court that never had jurisdiction to proceed. Magistrate

 Judge Sally Barrens denied the "Motion to Dismiss" as "moot" and was not

 debatable. This case was then removed from the hands of Federal Corporate

 Officer, Judge Janet Neff to the Executive Branch the "Secretary of State".

 Because of this, the "Reply in Support of His Motion to Dismiss" is "Nothing"

 and is of no substance to even discuss, as the "Motion to Dismiss" was not

 recognized by the magistrate and the case was removed from the court to the

 jurisdiction of the Secretary of State, so it never really existed to begin with.


 The Respondents falsely states the Claimant filed the "Living Testimony in Form

 of Affidavit of Presentment" in "Response" to Judge Maloney's "Motion to

 Dismiss". The Claimant always maintained his "Propria Persona" as there was
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"Never" a "Response" or "Acknowledgement" of Respondents "False Notices" or

"Motion to Dismiss" on any occasion. The Respondents again lacking jurisdiction,

conspiring under color of law, removed the case from State Court of Record to

Federal Court without consent of the Claimant in an unsuccessful attempt to

"Fraudulently" have the case dismissed. The Claimant taking measures against the

illegal actions of the Respondent and co-conspirators, filed a "Living Testimony in

Form of Affidavit in Commerce" with the Secretary of State to put a stop to this

fraudulent activity. The Claimant's "Response" was to the Secretary of State

"Not" Judge Maloney's motion in a fraudulent court. Through the Claimants

decisive actions, he has maintained the case under the jurisdiction of "Common

Law Court of Record". Because the Claimant maintained his proper person

throughout this case, the "Court ofRecord' is not obligated to recognize or

validate this reply in support of a nullified motion presented in a nullified court.


Accordingly, Judge Maloney's Motion to Dismiss along with the "Reply in

Support of the Motion" is DENIED. IT IS SO ORDERED.


DATE: September 18, 2020                        God Almighty Presiding Judge of All
                                                Common Law Court of Record
                                                Date: 9 /18/2020



, in this Court of Record, with first-hand knowledge as a harmed and Injured
victim, competent first hand witness claims with Reservation of Rights, U.C.C.
1-308 (Old 207.4), WITHOUT RECOURSE, U.CC 1-103.6, and Michigan
Reservation o[Rights (Section 440.1308). All offers are accepted for honor
pursuant to 40 Stat §411, Section 7(e) and 50 USC §4305 (b) (2). (Performance
or acceptance under reservation of rights).

                          CERTIFICATE OF SERVICE

    I, Keith A. Goodwin HEREBY CERTIFY that, on this 2l5t day of
September 2020, a copy of the foregoing was mailed to: Judge Janet Neff, Zak
Toomey or mailed under UPU Postal Rules and Regulations Legal Subpoena
by postal stamped Certified Mail.
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                                   DEPARTMENT OF STATE

                                       APOSTILLE
                            (Convention de La Haye du 5 Octobre 1961).


    1. Country:                          UNITED STATES OF AMERICA
    This public document
    2. has been signed by:               PHILIP DENTLER
    3. acting in capacity of:            Michigan Notary Public
    4. bears the seal of:                PHILIP DENTLER
                                         KENT County, Michiga(l ·


                                         CERTIFIED:
    5. at Grand Rapids , Michigan           6. the 21st of September, 2020
    7. by Secretary of State, State of Michigan
    8. NO. 254472-1-654143-263
    9. Seal/Stamp:                                   10. Signature: ·




                                                     Jocelyn Benson
                                                     This certification attests only to the authenticity of the signature of the official
                                                     who signed the affixed docum!lnt, the capacity in which that official acted, and
                                                     where appropriate, the identity of the seal or stamp which the document bears.
                                                     This certification is not intended to imply that the contents of the document are
                                                     correct, nor that they have the approval of the State of Michigan.
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  From: Keith A. Goodwin
  Care of UPU, United States Post Office
  Care of 1135 Benjamin Ave. S.E.
  Grand Rapids, MI, 49506, Non-Domestic
  WITHOUT THE UNITED STATES MILITARY ZONES
  Telephone: 616-550-3463 Email: kg3373 @aol.com

   To: Judge Paul L. Maloney ATTN: LEGAL TORT CLAIM PETITION
   DEPARTMENT - Lawsuit
   137 Federal Bldg, 410 W. Michigan Ave. Kalamazoo, MI 49007
   Office Phone: (269)-381-4741
   Case Manager: (269)-337-5700


   Claimant/Plaintiff, By:      ~                             DATE: !f.ltd_,2020

                                           JURAT
   State of Michigan             )
   Kent County ) ss
                                                                   gfv
  S~om to (or a firmed) and subscribe                            1s  ]      day of
  ---""'f--................_...;....__ ____,;;2;;..;0=2~0 by . , proved to me on the basis of
  satisfactory evidence to be one of the people who ap eared before me and executed
  the forgoing instrument for the purpose stated therein and acknowledged that said
  execution was by his free act and deed.
                                                                                        PHILIP DENTLER
    ~                                                                           Notary Public - State of Michigan

             ~                       Signature of Notary Public, SEAL           MyComm i~~~~t~~r~~~:~25,2024
                                                                                        h
  My commission expires          Bl/zS/2ozi-{                                  Actingin! eCountyof Uv'J±


VOID where prohibited by Law. All offers accepted pursuant to 40 Stat 411
Section (7) (e) and 50 USC §4305 (b) (2).
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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN


   KEITH A . GOODW IN ,

           Plaintiff,
   V.                                                                    Hon. Janet T. Neff

   KENT COUNTY D ISTRICT                                                 Case No. I :20-cv-00725
   ATTORNEY, et al.,

           Defer.dants .



                                                ORDER

          This matter is before the Court on the request of Respondent Pau l L. Maloney for a pre-

  motion conference (ECF No. 4). On August 7, 2020, this matter was referred to Magistrate Judge

  Sally Berens by the Honorable Janet T. Neff for handling of all matters under § 636(a) and

  § 636(b )(1 )(A) and for submission of recommendations on dispositive motions under

  § 636(b )( I )(B). Magistrate Sally Berens does not require a motion conference before fi ling of

  dispositive motions , and refers the parties to § IV.A. I .a of the civi l guidelines of the Honorable

  Janet T. Neff, which states: " [N]o pre-motion conference is required before filing . .. a dispositive

  motion in a case referred to a magistrate judge." As such, the request for a pre-motion conference

  (ECF    o. 4) is dismissed as moot. The Respondent may file a dispositive motion.

         IT IS SO ORDERED.


  Date: August 10, 2020                                          /s/ Sally J. Berens
                                                                 SALLY J. BERENS
                                                                 U .S. Magistrate Judge
